            Case 3:24-cr-02479-LS       Document 3          Filed 11/04/24   Page 1 of 2     ),/('
                                                                                       November 04, 2024
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                                    United States District Court                          Veronica Montoya
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                                     Western District of Texas                                             '(387<
                                         El Paso Division

 United States of America,
        Plaintiff,
                                                                      EP:24-MJ-3929-ATB
        v.

 Romannie Shrouder,
      Defendant.

                      United States' Motion to Detain Defendant Without
                              Bond and Motion for Continuance

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C. ' 3142(e) and (f), files this, its Motion to

Detain Defendant Without Bond and Motion for Continuance, and for cause, would respectfully

show unto the Court the following:

       1.       The Defendant was arrested for a violation of Title 18, United States Code, Section

922(n), Receipt of Firearm by Person under Felony Indictment.

       2.       The Defendant is a United States citizen.

       3.       The Defendant has a prior criminal history. The Defendant was convicted in 2022

for Aggravated Assault with a deadly weapon.

       4.       There are no conditions or combination of conditions which will reasonably assure

the safety of the community should the Defendant be released on bond.

       5.       There are no conditions or combination of conditions which will reasonably assure

the appearance of the Defendant at future court settings.
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       The Government would further move the Court for a three-day continuance of the detention

hearing from the date of the initial appearance.

       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendant without bail pending the final outcome of this case.

                                              Respectfully submitted,

                                              JAIME ESPARZA
                                              UNITED STATES ATTORNEY


                                      By:     ______________ _____
                                              _________________________________
                                              SHUHAO “SEAN”
                                                         “SEAN
                                                             AN” WANG
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